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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

           Plaintiff,                                       Case No. 1:07-cr-230

 v                                                          HON. JANET T. NEFF

 TIOMBE ADERO McELRATH,

       Defendant.
 _______________________________/


                                SENTENCING MEMORANDUM


       On January 3, 2008, defendant entered a plea of guilty to Count 1 of a three-count

Indictment, conspiring to possess with intent to distribute fifty grams or more of cocaine base1 (crack

cocaine). On June 12, 2008, the Court sentenced defendant to 48 months imprisonment with special

conditions of financial oversight, substance abuse testing and treatment, and 200 hours of

community service.2 In imposing sentence, the Court determined that a variance from the UNITED

STATES SENTENCING GUIDELINES (U.S.S.G.) advisory range was warranted under the sentencing

factors in 18 U.S.C. § 3553(a). This memorandum sets forth the Court’s specific reasoning for that

determination.




       1
           21 U.S.C. § 846 and §§ 841(a)(1) and (b)(1)(A)(iii).
       2
           At sentencing, the Court granted the government’s motion to dismiss Counts 2 and 3.
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                                     I. Background and Facts

       Defendant Tiombe Adero McElrath is a 34-year-old woman who, along with her cousin,

Christopher Tirrell Green, and his cousin, Jimmie Lee Streeter, Jr., was arrested by the Kalamazoo

Valley Enforcement Team (KVET) following a controlled drug purchase by a confidential

informant. Streeter and Green were known to law enforcement based on their drug trafficking

activities. According to the informant, Streeter was known on the streets as a powder cocaine and

marijuana dealer. Green was known as a partner of Streeter and a large supplier of cocaine in the

Kalamazoo area. Based on their investigation, authorities knew that Streeter resided with defendant

at her residence, 759 North Pitcher Street in Kalamazoo, and that Streeter lived at a separate

Kickapoo Court address in Kalamazoo. [Presentence Investigation Report (PSIR) 1, ¶¶ 17-19.]

       On June 1, 2007, the informant negotiated a purchase of two ounces of cocaine with Streeter

for $1250. It was agreed that, of the purchase price, Green would receive $1200 for supplying the

crack cocaine and Streeter would received $50 for setting up the transaction. Streeter told the

informant that he would have to arrange with Green to get the crack cocaine and so the informant

should go to a particular gas station and wait for Green and Streeter. [PSIR ¶ 20.]

       Based on their surveillance, authorities observed Green travel with defendant to their North

Pitcher Street residence, and both went inside, where Green reportedly retrieved the crack cocaine

from his safe in an upstairs bedroom. Green and defendant then left and picked up Streeter at his

address, and the three went together to the Sunoco station. Once at the station, defendant went into

the station and bought a soda, while Streeter got into the informant’s vehicle and completed the sale

of 55.45 grams of crack cocaine. [PSIR ¶¶ 21-23, 27.]




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       After the drug sale, Green and defendant took Streeter back to his residence, and the two of

them proceeded to the Secretary of State office, where defendant paid $517 for the registration of

Green’s 1999 Chevy Tahoe with $400 of pre-recorded money from the earlier drug transaction.

When Green and defendant left, the police stopped the vehicle on the basis of outstanding arrest

warrants for Green. Green was arrested and a subsequent search of the vehicle revealed marijuana

residue. Defendant consented to a search and in her purse, the police found 9.35 grams of crack

cocaine. Defendant was also arrested. [PSIR ¶¶ 23-25.]

       Following the arrests, the KVET obtained a search warrant and conducted a search of the

North Pitcher address. They found $7,453 9.15 grams of crack cocaine inside Green’s safe. They

also recovered various crack cocaine mixing and distribution paraphernalia. [PSIR ¶¶ 26-27.]

       Streeter, Green, and defendant were together charged in a three-count Indictment, and all

three entered guilty pleas. In a written statement, defendant admitted to allowing her cousin (Green)

“a known drug dealer, to stay in her home, where he stored drugs and money in a safe,” and to

knowingly register in her name the truck that Green purchased with illegal drug money. [PSIR ¶ 32.]



                                        II. Applicable Law

       The Sentencing Guidelines are the “starting point and the initial benchmark” for federal

sentencing. Gall v. United States, 128 S. Ct. 586, 596 (2007); United States v. Thompson, 515 F.3d

556, 561 (6th Cir. 2008). “[A]fter giving both parties an opportunity to argue for whatever sentence

they deem appropriate, the district judge should then consider all of the § 3553(a) factors to

determine whether they support the sentence requested by a party.” Gall, 128 S. Ct. at 596; see also

United States v. Moon, 513 F.3d 527, 538 (6th Cir. 2008). The district court must make an


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individualized assessment based on the facts presented and adequately explain its choice. Gall, 128

S.Ct. at 597; Moon, 513 F.3d at 538. If the court decides that an outside-Guidelines sentence is

warranted, it must consider the extent of the deviation and ensure that the justification is sufficiently

compelling to support the degree of the variance. Gall, 128 S. Ct. at 597. The court must ultimately

“impose a sentence sufficient, but not greater than necessary,” to accomplish the goals of sentencing,

including “to reflect the seriousness of the offense,” “to promote respect for the law,” “to provide

just punishment for the offense,” “to afford adequate deterrence to criminal conduct,” and “to protect

the public from further crimes of the defendant.” 18 U.S.C. § 3553(a)(2); Kimbrough v. United

States, 128 S. Ct. 558, 570 (2007).



                                      III. Advisory Guidelines

        Under the Sentencing Guidelines, defendant’s total Offense Level was 25, with a Criminal

History Category of I. The sentencing guidelines range for imprisonment was 57 to 71 months.

Defendant was subject to a mandatory minimum sentence of ten years pursuant to 21 U.S.C. §§ 846

and 841(b)(1)(A). However, the Probation Department noted that the “safety valve” of 18 U.S.C.

§3553(f) applied, pursuant to U.S.S.G. § 5C1.2, the Court must impose a sentence in accordance

with the applicable guidelines without regard to the statutory minimum.

        At sentencing, the government agreed that the criteria for applying the safety valve were met

in this case. 18 U.S.C. §3553(f)(1)-(5). There were no objections to the Probation Department’s

scoring of the Guidelines or the advisory range as calculated, 57 to 71 months. The Probation

Department recommended a sentence at the lowest end of the Guidelines range, 57 months

imprisonment.


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                                            IV. Variance

       After considering the § 3553(a) factors, the Court concludes that the advisory Guidelines

range is greater than necessary to accomplish the goals of sentencing with respect to defendant. In

this case, there is general agreement of all parties concerned that defendant’s involvement stems

primarily from her association with her cousin Christopher Green. While that circumstance does

not in any way absolve defendant of the crime committed, it is a key consideration that, when

coupled with her demonstrated motivation and capability to be a productive citizen and parent,

convinces the Court that a minor variance in sentencing is warranted. After careful consideration

of the § 3553(a) factors and the circumstances of the offense and the offender, the Court determines

that a sentence of 48 months imprisonment, rather than the recommended 57 months, is warranted.

       The § 3553(a) factors include:

       (1)   the nature and circumstances of the offense and the history and characteristics
             of the defendant;

       (2)   the need for the sentence imposed –

             (A) to reflect the seriousness of the offense, to promote respect for the law, and
             to provide just punishment for the offense;

             (B) to afford adequate deterrence to criminal conduct;

             (C) to protect the public from further crimes of the defendant; and

             (D) to provide the defendant with needed educational or vocational training,
             medical care, or other correctional treatment in the most effective manner;

       (3)   the kinds of sentences available;

       (4)   . . . the [Guidelines] sentencing range . . .;

       (5)   any pertinent policy statement issued by the Sentencing Commission . . .;

       (6)   the need to avoid unwarranted sentence disparities . . .; and

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        (7)   the need to provide restitution to any victims of the offense. [18 U.S.C. §
              3553(a)]

        With respect to the first factor, § 3553(a)(1), and the nature and circumstances of the offense,

the Court considers that this case involves the delivery of two ounces of crack cocaine, or

approximately 55 grams. In relative terms, considering the amount of cocaine involved and that

there were no identifiable victims, no weapons, or violence, the offense is not one of the more

serious ones to come before the Court. Further, certainly at least with regard to the delivery issue,

defendant was the least culpable of those involved. Thus, in terms of seriousness, the offense falls

at the lower end of the scale.

        Second, in terms of the history and characteristics of the defendant, also considered under

§ 3553(a)(1), Ms. McElrath has much to be commended. She is a high school graduate. She has

a lengthy and consistent record of employment. While her employment has not been lengthy with

a particular employer, she nevertheless has been consistently employed since 1995. She has some

special training in health care and achieved certification as a nursing assistant. Defendant’s history

and background reflect a certain amount of skill and motivation to achieve acceptable life goals.

She has every indication of being, or least attempting to be, a productive member of society.

        Nonetheless, defendant has made some extremely poor choices. She is not merely a victim

of circumstance because she knew that there were drugs, and drug money and activities in her home.

She almost certainly knew that Green was using her apartment as a venue to process powder cocaine

into crack cocaine. She, at the very least, tolerated this illegal activity, despite her obligation to her

children, who presumably were living at the North Pitcher address as well.




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        In the final analysis, defendant’s history and characteristics reflect a balance of positive and

negative, which in and of itself is a factor in favor of defendant. In these types of cases, there is not

always a balance of pluses and minuses.

        With regard to the need for the sentence imposed, § 3553(a)(2), the Court considers the need

to: (1) reflect the seriousness of the offense; promote respect for the law; and provide just

punishment for the offense; (2) afford adequate deterrence to criminal conduct; (3) protect the public

from further crimes of the defendant; and (4) provide the defendant with needed educational or

vocational training, medical care, or other correctional treatment in the most effective manner. The

Court has weighed these factors in the context of this case.

        First, the Court observes that punishment is a significant factor here. Defendant admittedly

has made decisions that by her own admission were not good decisions, but she made them

nonetheless and adhered to them. Defendant has not demonstrated a great respect for the law. She

has violated probation on a number of occasions and her response to her own attorney in this case

was not timely with respect to preparation of his sentencing memorandum.

        Second, deterrence is an important factor in this case. There is a high cost to society that

results from the drug culture, and any involvement in this culture, even indirect participation, cannot

be countenanced. Defendant’s minor-level involvement therefore warrants deterrence.

        On the other hand, the need to protect the public from further crimes of the defendant does

not seem to be a critical factor in this case. There is general agreement in this case that defendant

is not likely to commit further drug offenses on her own.

        Nonetheless, defendant does have some lengthy experience with marijuana, which may be

addressed through a period of incarceration. There is consequently some need for treatment,


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although not perhaps significant need, given defendant’s history and reported voluntary abstinence

during her two pregnancies and while on bond. Considering defendant’s background, there is also

perhaps a need for educational or vocational training, § 3553(a)(2)(D). The Bureau of Prisons

system has programs to address these needs, and the Court has factored these circumstances into its

overall sentencing determination.

       In imposing sentence, the Court is obligated to consider the § 3553(a) factors in light of the

specific offense and the individual offender. In light of all of the above considerations, it is the

Court’s determination that with regard to this defendant, a term of more than 48 months

imprisonment is unwarranted to meet the goals of sentencing. This is a defendant with great

potential to further herself given the proper focus and support. Four years of imprisonment is an

appropriate term to make the necessary adjustments to her life, if that is the direction defendant

chooses to take. Defendant has the guidance and support of family, and particularly, her mother,

as defendant acknowledged before the Court at sentencing. These combined factors indicate the

potential for a productive, law-abiding, and substance-free lifestyle.           Given the specific

circumstances of this case, and this offender, a longer term of imprisonment would have a

diminishing effect on her return to a productive life and her responsibilities as the parent of her two

children, ages 14 and 7. Further, defendant’s mandatory lengthy term of supervised release provides

an additional opportunity to monitor defendant’s compliance and progress in satisfying court-

ordered conditions and securing gainful employment.

       Accordingly, for the reasons stated above and on the record at the June 12, 2008 sentencing

hearing, the Court determines that a sentence of 48 months’ imprisonment is sufficient, but not

greater than necessary to advance the goals of sentencing under § 3553(a)(2). The Court


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recommends to the Bureau of Prisons that (1) defendant be afforded substance abuse treatment and

counseling, and (2) defendant receive educational and vocational training. Following her term of

imprisonment, defendant shall serve a term of five years of supervised release. Defendant shall also

perform 200 hours of community service. Defendant is ordered to pay a mandatory special

assessment of $100. Other sentencing conditions appear in the accompanying judgment of sentence.



Date: June 25, 2008.                              /s/ Janet T. Neff
                                                 JANET T. NEFF
                                                 United States District Judge




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